            Case 1:13-cr-00430-AWI-BAM Document 37 Filed 12/12/14 Page 1 of 3

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 6
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 7 United States of America

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:13CR00430-AWI-BAM

12                                 Plaintiff,               STIPULATION BETWEEN THE UNITED STATES
                                                            AND DEFENDANTS REGARDING
13                            v.                            PRODUCTION OF PROTECTED INFORMATION;
                                                            PROTECTIVE ORDER
14   MICHAEL ANDRADE, and
     JAVIER SOLIS
15                                                          COURT: Hon. Anthony W. Ishii
                                   Defendants.
16

17
            WHEREAS, the discovery already produced and discovery that will be produced contains
18
     private personal information regarding third parties (both adults and children), including but not limited
19
     to names, dates of birth, criminal histories, physical descriptions, telephone numbers and/or residential
20
     addresses, and photographs (“Protected Information”). As to the photographs, some depict unknown
21
     persons in various state of undress and in sexually explicit poses. While most of these photos appear to
22
     depict adult females, it is possible that some may depict juveniles; and
23
            WHEREAS, due to the private nature of the contents of the Protected Information, the
24
     Government is unwilling to produce said Protected Information in its current form in the absence of a
25
     protective order preventing its unauthorized disclosure or dissemination. The parties also desire to avoid
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     large-scale redactions of the Protected Information;
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      STIPULATION AND ORDER                                 1
            Case 1:13-cr-00430-AWI-BAM Document 37 Filed 12/12/14 Page 2 of 3

 1          The parties agree that entry of a stipulated protective order is an appropriate method of allowing

 2 the defense to view Protected Information while controlling its unauthorized disclosure or

 3 dissemination.

 4          THEREFORE, defendants MICHAEL ANTHONY ANDRADE and JAVIER SOLIS, by and

 5 through their counsel of record (“Defense Counsel”), and the United States of America, by and through

 6 Assistant United States Attorney Michael S. Frye, hereby agree and stipulate as follows:

 7          1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

 8 Criminal Procedure, and its general supervisory authority.

 9          2.      This Order pertains to all discovery provided to the Defense Counsel following the

10 issuance of the order in this matter.

11          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

12 documents that contain Protected Information with anyone other than Defense Counsel attorneys,

13 designated defense investigators, and support staff. Defense Counsel may permit the defendant to view

14 unredacted documents in the presence of his attorneys, defense investigators, or support staff. The

15 parties agree that Defense Counsel, defense investigators, and support staff shall not allow the defendant

16 to copy or personally possess Protected Information contained in the discovery.

17          4.      The discovery and information therein may be used only in connection with the litigation

18 of this case and for no other purpose.

19          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

20 ensure that it is not disclosed to third persons in violation of this agreement.

21          6.      Defense Counsel shall be responsible for advising the Defendant, employees, and other

22 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

23          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

24 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

25 this Order.

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27 IT IS SO STIPULATED.

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      STIPULATION AND ORDER                               2
           Case 1:13-cr-00430-AWI-BAM Document 37 Filed 12/12/14 Page 3 of 3

 1
     DATED: December 11, 2014                 By: /s/ Mark Broughton
 2                                            Mark Broughton
                                              Attorney for Defendant
 3                                            MICHAEL ANDRADE

 4
     DATED: December 11, 2014                 By: /s/ Richard A. Beshwate Jr.
 5                                            Richard A. Beshwate Jr.
                                              Attorney for Defendant
 6                                            JAVIER SOLIS

 7
     DATED: December 11, 2014                 BENJAMIN B. WAGNER
 8                                            United States Attorney

 9
                                              By: /s/ Michael S. Frye
10                                            Michael S. Frye
                                              Assistant U.S. Attorney
11

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13
     IT IS SO ORDERED.
14
     Dated: December 12, 2014
15
                                       SENIOR DISTRICT JUDGE
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      STIPULATION AND ORDER                  3
